Fill in this information to identify the case:

Debtor name: Remnant Oil Company, LLC and Remnant Oil Operating, LLC
United States Bankruptcy Court for the: Western District of Texas
Case number (if known): 19-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                    12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the      Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim              claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,      contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-      total claim amount and deduction for value of
                                                                     bank loans,        dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                    Total claim, if    Deduction for      Unsecured
                                                                     government                       partially          value of           claim
                                                                     contracts)                       secured            collateral or
                                                                                                                         setoff

1   KODIAK GAS SERVICES LLC            SALES@KODIAKGAS.COM            TRADE               ¨C                                                $3,300,000.00
    PO BOX 732235                      Tel: 936-539-3300              PAYABLE
    DALLAS TX 75373-2235               Fax: 936-539-3301                                  þU
                                                                                          ¨D
2   BAKER HUGHES INC                   WILL MARSH, CHIEF LEGAL        TRADE               ¨C                                                $444,574.06
    PO BOX 301057                      OFFICER                        PAYABLE
    DALLAS TX 75303-1057                                                                  ¨U
                                                                                          ¨D
3   RELIABLE WELL SERVICE INC          DAVID BARRETT,                 TRADE               ¨C                                                $288,460.88
    512 W TEXAS                        PRESIDENT                      PAYABLE
    ARTESIA NM 88210                   Tel: 575-513-0145                                  ¨U
                                                                                          ¨D
4   PRECISION PUMP & SUPPLY            ROBERT DENNIS, OWNER           TRADE               ¨C                                                $235,882.44
    PO BOX 115                         Tel: 575-677-2239              PAYABLE
    LOCO HILLS NM 88255                                                                   ¨U
                                                                                          ¨D
5   KEL-TECH INC                       INFO@KELTECHINC.COM            TRADE               ¨C                                                $218,933.47
    DEPT 3426                          Tel: 432-684-4700              PAYABLE
    DALLAS TX 75312                    Fax: 432-686-8000                                  ¨U
                                                                                          þD
6   MESA WELL SERVICING, LP                                           TRADE               ¨C                                                $146,241.28
    PO BOX 1620                        Tel: 575-393-1042              PAYABLE
    HOBBS NM 88241                                                                        þU
                                                                                          ¨D
7   TWIN STARS COMPRESSION             ROGER ARMSTRONG,               TRADE               ¨C                                                $110,063.94
    LLC                                PRESIDENT                      PAYABLE
    100 IOWA                           Tel: 505-632-9202                                  ¨U
    BLOOMFIELD NM 87413                Fax: 505-632-2723
                                                                                          ¨D
8   ZIMMERMAN OIL INC                  ZAC ZIMMERMAN,                 TRADE               ¨C                                                $96,127.16
    PO BOX 397                         PRESIDENT                      PAYABLE
    LOVINGTON NM 88260                 Tel: 575-396-7214                                  ¨U
                                                                                          þD

Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              Page 1
Debtor   Remnant Oil Company, LLC and Remnant Oil Operating, LLC                                            Case number (if known) 19-_____

    Name of creditor and complete    Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
    mailing address, including zip   and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
    code                             contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                   trade debts,    unliqui-      total claim amount and deduction for value of
                                                                   bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                   professional    disputed
                                                                   services, and                 Total claim, if    Deduction for      Unsecured
                                                                   government                    partially          value of           claim
                                                                   contracts)                    secured            collateral or
                                                                                                                    setoff

9   EUNICE PUMP & SUPPLY LLC         SCOTT BATEMAN                 TRADE             ¨C                                                $95,697.45
    PO BOX 1468                      Tel: 575-394-4012             PAYABLE
    EUNICE NM 88231-1468                                                             ¨U
                                                                                     ¨D
10 ARTS HOT OIL SERVICES LLC         ARTURO R CARRASCO,            TRADE             ¨C                                                $90,302.31
   PO BOX 188                        PRINCIPAL                     PAYABLE
   LOVINGTON NM 88260-0188           Tel: 575-602-1935                               ¨U
                                                                                     ¨D
11 ONO'S SANDBLASTING &                                            TRADE             ¨C                                                $75,153.36
   PAINTING LLC                      Tel: 575-397-6142             PAYABLE
   PO BOX 3790                                                                       ¨U
   HOBBS NM 88241-3790
                                                                                     ¨D
12 MODRALL SPERLING ROEHL            CONTACT@MODRALL.COM           TRADE             ¨C                                                $68,092.17
   HARRIS & SISK PA                  Tel: 505-848-1801             PAYABLE
   PO BOX 2168                                                                       ¨U
   ALBUQUERQUE NM 87103-2168
                                                                                     ¨D
13 SEALE ENERGY PARTNERS LP                                        TRADE             ¨C                                                $65,906.00
   14942 SANDALFOOT ST               Tel: 281-463-7989             PAYABLE
   HOUSTON TX 77095                                                                  ¨U
                                                                                     ¨D
14 JORDAN-RUBICON RESOURCES          TOM FEKETE, PRESIDENT         TRADE             ¨C                                                $61,060.00
   LLC                               Tel: 432-686-1808             PAYABLE
   1306 WEST TEXAS AVE                                                               ¨U
   MIDLAND TX 79701
                                                                                     ¨D
15 ALLIANCE WELL SERVICE LLC                                       TRADE             ¨C                                                $60,093.54
   PO BOX 1807                       Tel: 806-632-3890             PAYABLE
   ARTESIA NM 88211                                                                  ¨U
                                                                                     ¨D
16 BORDAYO TRUCKING                  ELIBERTO BORDAYO,             TRADE             ¨C                                                $57,479.00
   PO BOX 3302                       OWNER                         PAYABLE
   HOBBS NM 88242-3302               Tel: 575-706-5628                               ¨U
                                                                                     ¨D
17 DOUBLE R TRANSPORTATION           RICARDO RODRIGUEZ             TRADE             ¨C                                                $56,326.68
   LLC                               Tel: 575-395-2622             PAYABLE
   PO DRAWER 1060                                                                    ¨U
   JAL NM 88252
                                                                                     ¨D
18 BANK OF AMERICA                   BANKRUPTCY DEPT               TRADE             ¨C                                                $49,741.17
   475 CROSS POINT                                                 PAYABLE
   GETZVILLE NY 14068-9000                                                           ¨U
                                                                                     ¨D
19 DMC OILFIELD SERVICES LLC                                       TRADE             ¨C                                                $49,500.00
   PO BOX 1890                       Tel: 575-391-0105             PAYABLE
   HOBBS NM 88241                    Fax: 575-391-0446                               ¨U
                                                                                     ¨D
20 KILL I T SERVICES LLC             LYNN GARAY                    TRADE             ¨C                                                $46,736.59
   PO BOX 482                        Tel: 575-441-5974             PAYABLE
   LOVINGTON NM 88260                                                                ¨U
                                                                                     ¨D


Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          Page 2
Debtor   Remnant Oil Company, LLC and Remnant Oil Operating, LLC                                           Case number (if known) 19-_____

   Name of creditor and complete    Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
   mailing address, including zip   and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
   code                             contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                  trade debts,    unliqui-      total claim amount and deduction for value of
                                                                  bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                  professional    disputed
                                                                  services, and                 Total claim, if    Deduction for      Unsecured
                                                                  government                    partially          value of           claim
                                                                  contracts)                    secured            collateral or
                                                                                                                   setoff

21 STANDARD ENERGY SERVICES         PIETER BERGSTEIN,             TRADE             ¨C                                                $45,833.34
   PO BOX 2724                      PRESIDENT                     PAYABLE
   LUBBOCK TX 79408-2724            Tel: 806-741-1080                               ¨U
                                    Fax: 806-741-1301
                                                                                    ¨D
22 CRAIN HOT OIL SERVICE LLC                                      TRADE             ¨C                                                $43,593.85
   DRAWER 2145                      Tel: 575-396-6543             PAYABLE
   TROY MI 48007                    Fax: 575-396-9700                               ¨U
                                                                                    ¨D
23 PERK-ROC, INC. dba                                             TRADE             ¨C                                                $37,500.00
   STEVENSON-ROACH                  Tel: 505-746-3222             PAYABLE
   PO BOX 157                       Fax: 505-746-9556                               ¨U
   ARTESIA NM 88211
                                                                                    ¨D
24 50-50 BACKHOE SERVICES LLC       GLENN KAISER                  TRADE             ¨C                                                $35,423.99
   PO BOX 375                       Tel: 575-748-5549             PAYABLE
   ARTESIA NM 88211-0375                                                            ¨U
                                                                                    ¨D
25 PCS FERGUSON INC                                               TRADE             ¨C                                                $31,735.26
   PO BOX 732131                                                  PAYABLE
   DALLAS TX 75373-2131                                                             ¨U
                                                                                    ¨D
26 BRIGADE SERVICES LLC                                           TRADE             ¨C                                                $31,448.31
   4615 DEVARGAS ST                 Tel: 575-602-3730             PAYABLE
   HOBBS NM 88242                   Fax: 575-492-7714                               ¨U
                                                                                    ¨D
27 BRIDGE CAPITAL CORP.                                           TRADE             ¨C                                                $30,605.98
   2365 RICE BLVD. #201             Tel: 713-533-9642             PAYABLE
   HOUSTON TX 77005                                                                 ¨U
                                                                                    ¨D
28 D & C ELECTRIC LLC                                             TRADE             ¨C                                                $30,522.87
   1444 W BROADWAY ST               Tel: 572-492-0044             PAYABLE
   HOBBS NM 88240                   Fax: 572-492-0045                               ¨U
                                                                                    ¨D
29 KW FUELS INC                     KEITH PEARSON, OWNER          TRADE             ¨C                                                $29,764.07
   PO BOX 1288                      Tel: 575-393-5135             PAYABLE
   HOBBS NM 88241                                                                   ¨U
                                                                                    ¨D
30 LOZOYA'S TRUCKING &              NORBERTO LOZOYA,              TRADE             ¨C                                                $26,851.85
   OILFIELD SERVICE LLC             PRINCIPAL                     PAYABLE
   PO BOX 3229                      Tel: 432-295-1385                               ¨U
   HOBBS NM 88241-3229
                                                                                    ¨D




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